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          10

          11                                     UNITED STATES DISTRICT COURT

          12                                 NORTHERN DISTRICT OF CALIFORNIA

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          14       WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
                   and FACEBOOK, INC., a Delaware
          15       corporation,                                  [PROPOSED] ORDER:

          16                                                     GRANTING IN PART AND DENYING IN
                                   Plaintiffs,                   PART DEFENDANTS’ APPLICATION TO
          17                                                     SET ASIDE DEFAULT AND TO ENLARGE
                         v.                                      TIME TO FILE RESPONSIVE PLEADING TO
          18                                                     COMPLAINT; AND
                   NSO GROUP TECHNOLOGIES LIMITED
          19       and Q CYBER TECHNOLOGIES LIMITED,             GRANTING PLAINTIFFS’ CROSS-MOTION
                                                                 TO AUTHORIZE ALTERNATIVE SERVICE
          20                       Defendants.                   PURSUANT TO FEDERAL RULE OF CIVIL
                                                                 PROCEDURE 4(F)(3)
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                                                                 Hon. Jacqueline S. Corley
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                                                                                              [PROPOSED] ORDER
  COOLEY LLP
ATTORNEYS AT LAW                                             1                       CASE NO. 3:19-CV-07123-JSC
 SAN FRANCISCO
                       Case 4:19-cv-07123-PJH Document 29-8 Filed 03/09/20 Page 2 of 2



            1             Before the Court are (1) Defendants NSO Group Technologies Ltd. and Q Cyber

            2      Technologies Ltd.’s Application to Set Aside Default and to Enlarge Time to File Responsive

            3      Pleading to Complaint and (2) Plaintiffs WhatsApp Inc. and Facebook, Inc.’s Cross-Motion to

            4      Authorize Alternative Service Pursuant to Federal Rule of Civil Procedure 4(f)(3). The Court,

            5      having considered the papers and good cause appearing, hereby orders:

            6             1.     Defendants’ Application to Set Aside Default and to Enlarge Time to File Responsive

            7                    Pleading to Complaint is GRANTED IN PART and DENIED IN PART:

            8                    a.      Defendants’ request to set aside default is GRANTED. Default entered against

            9                            Defendants (ECF No. 22) is VACATED.

          10                     b.      Defendants’ request to enlarge time to file a responsive pleading is DENIED.

          11              2.     Plaintiffs WhatsApp Inc. and Facebook, Inc.’s Cross-Motion to Authorize Alternative

          12                     Service pursuant to Federal Rule of Civil Procedure 4(f)(3) is GRANTED. Plaintiffs

          13                     shall serve Defendants by email at:

          14                     a.      Defendants’ public email address (info@nsogroup.com);

          15                     b.      The email address for Defendants’ General Counsel, Shmuel Sunray

          16                             (shmuels@nsogroup.com); and

          17                     c.      The email addresses for Defendants’ U.S. counsel, Joseph Akrotirianakis and

          18                             Aaron Craig (jakro@kslaw.com and acraig@kslaw.com).

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          20       IT IS SO ORDERED.
          21       Dated: _________________
          22                                                    Honorable Jacqueline S. Corley
                                                                United States Magistrate Judge
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  COOLEY LLP
                                                                                                    [PROPOSED] ORDER
ATTORNEYS AT LAW                                                   2                       CASE NO. 3:19-CV-07123-JSC
 SAN FRANCISCO
